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                                                                                             United States Courts
                                 UNITED STATES DISTRICT COURT                              Southern District of Texas
                                                                                                   F l LE D
                                 SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION                                      MAY 18 2023
UNITED STATES OF AMERICA                              §                                Nathan Ochsner, Clerk of Court
                                                      §
V.                                                    §               Criminal No. 4:07-cr-0028-01
                                                      §
 SERGIO ARTURO GONZALEZ-WONG                          §
                                                      §

               GOVERNMENT'S MOTION TO DISMISS INDICTMENT AGAINST
                       SERGIO ARTURO GONZALEZ-WONG

        The United States of America ("government") files this motion to dismiss the indictment against Sergio

Arturo Gonzalez-Wong:

        On February 1, 2007, a grand jury returned an indictment charging Sergio Arturo Gonzalez-Wong that

charged conspiracy to possess with intent to distribute a controlled substance and laundering monetary

instruments.

        Since the return of the indictment, the defendant has been a fugitive.

       The government no longer wishes to prosecute the case against the defendant. The FBI has not been

able to locate the fugitive and necessary witnesses are no longer available to aid in prosecution of the case.

Consequently, the government requests that the Court dismiss the indictment against Sergio Arturo

Gonzalez-Wong.

                                                      Respectfully submitted,

                                                      ALAMDAR S. HAMDAN!




                                                                      States Attorney
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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION


UNITED STATES OF AMERICA                       §
                                               §
V.                                             §             Criminal No. 4:07-cr-0028-01
                                               §
SERGIO ARTURO GONZALEZ-WONG                    §
                                               §



                       ORDER DISMISSING INDICTMENT AGAINST
                         SERGIO ARTURO GONZALEZ-WONG

       On this day, the Court considered the government' s motion to dismiss the indictment against

Sergio Arturo Gonzalez-Wong and GRANTS said motion.

       IT IS THEREFORE ORDERED THAT the indictment against Sergio Arturo Gonzalez-Wong

is dismissed.

       Signed on May _ _ , 2023 at Houston, Texas.



                                                      SIM LAKE
                                                      UNITED STATES DISTRICT JUDGE
